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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------- -----x
 In re Kossoff PLLC,
                                                                           Case No. 21 -______(___)
                                        Debtor.


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                       CORPORATE DISCLOSURE STATEMENT OF
                         PETITIONER GRAN SABANA CORP NV

          Pursuant to Rule 7007.1 of the Federal Rules of Bankruptcy Procedure and Local

 Bankruptcy Rule 7007.1-1, the undersigned petitioning creditor, a private, non-

 governmental corporation, certifies that the following entities are owners of more than

 10% of any class of its equity:

       (a)     Fundación Z1, Credicorp Bank Plaza, 26th floor, Nicanor de Obarrio
 Avenue, 50th Street, Panama, Republic of Panama – 50%

         (b)   Z Corporation, Wickhams Cay 662, Road Town Tortola, British Virgin
 Islands – 50%

 Dated: New York, New York
        April 12, 2021

                                                       GRAN SABANA CORP NV


                                                       By:___s/Giorgio Angelini________________
                                                           Name: Giorgio Angelini
                                                           Title: Manager




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